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IN THE UNITED STATE DISTRICT COURT
FOR THE EASTERN DISTRICT OF LOUISIANA

TIMOTHY PERRY AND
TRACEY PERREY

MDL DOCKET NO. 2047

PLAINTIFFS
Judge Eldon E. Fallon

Vv.

KNAUF GIPS KG;

KNAUF PLASTERBOARD

TIANJIN COMPANY, LTD

SUN CONSTRUCTION, LLC

SUNRISE CONSTRUCTION, LLC

FICTITIOUS DEFENDANTS A-Z
DEFENDANTS

Magistrate Judge Joseph C. Wilkerson, Jr.

Section L

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Case No. 2:09cv5500 L/2

STATEMENT OF UNCONTESTED MATERIAL FACTS

MAY IT PLEASE THE COURT:
As demonstrated by the affidavit of Natalie Culpeper and the Exhibits to the Motion for

Summary Judgment, the following material facts are uncontested.

1.) The Plaintiffs executed the purchase agreement for the home at issue on April 4,

2006.
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2.) The Plaintiffs executed the Bonded Builders Warranty Group warranty at the act of
sale of the home at issue, on February 16, 2007.

3.) The Purchase Agreement and the Bonded Builders Warranty Group contract both call
for binding arbitration.

4.) The Plaintiffs filed the instant litigation without pursuing the mandatory arbitration.

Respectfully submitted,

COUHIG

BY: LL
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CERTIFICATE OF SERVICE

I hereby certify that the above and foregoing Sun Construction, LLC’s Motion for Summary
Judgment Pursuant to FRCP Rule 56 has been served on Plaintiffs’ Liaison Counsel, Russ

Hermann at Drywall@hhke.com, and Defendants’ Liaison Counsel, Kerry Miller at

Kmiller@frilot.com, and Homebuilder Sterring Committees’ Counsel Hilarie Bass and Phillip A.

Wittmann at pwittman@stonepigman.com and upon all parties by electronically uploading the

same to Lexis Nexis File & Serve in accordance with Pretrial Order No. 6, and that the foregoing
was electronically filed with the Clerk of Court of the United States District for the Eastern

District of Louisiana by using the CM/ECF System, which will send a notice of electronic filing
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in accordance with the procedures established in MDL 2047, on the 10th day of November,

DAVID C. LOEB

2009.

